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                        IN THE UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF PENNSYLVANIA


 MERIDITH JONES,

                        Plaintiff,                        Case No. 1:20-cv-10873

        v.

 LOVEVERY, INC.,

                        Defendant.


                                     NOTICE OF SETTLEMENT

       PLEASE TAKE NOTICE that Plaintiff Meridith Jones and Defendant Lovevery, Inc. have

reached an agreement in principle that will resolve the claims alleged in the case, Jones v.

Lovevery, Inc., Case No. 1:20-cv-10873. Plaintiff anticipates filing a Notice of Voluntary

Dismissal With Prejudice within thirty (30) days of this notice.

       Dated: June 11, 2020                  Respectfully Submitted,

                                             /s/ Jason M. Leviton
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                                             Counsel for Plaintiff
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                                CERTIFICATE OF SERVICE

       I hereby certify that on this day, June 11, 2020, a true and correct copy of the foregoing

Notice of Settlement was filed on the Court’s CM/ECF system and will be served upon all counsel

of record. I also certify a true and correct copy will be served upon counsel for Defendant:

Jennifer S. Rusie
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                                             Respectfully Submitted,

 Dated: June 11, 2020                             /s/ Jason M. Leviton
                                                  Jason M. Leviton
